Case 2:19-cr-00123-DBH Document4 Filed 01/30/19 Page 1 14 CORP SA (_

ae Complaint Synopsis

eke

Damon Fagan

Presque Isle, ME

 

Name: ede FILED

5 JAN 30 A131
Address: id
(City & State Only)
Year of Birth and Ager -PUTY CLERK
Violations:
Penalties:

Supervised Release:

Maximum Term of Imprisonment for
Violation of Supervised Release:

Maximum Add’l Term of Supervised
Release for Violation of Supervised
Release:

Defendant’s Attorney:

Primary Investigative Agency and Case
Agent Name:

Detention Status:

Foreign National:

Foreign Consular Notification Provided:
County:

AUSA:

1975/43 years old

Count 1: Possession with intent to distribute heroin, in
violation of Title 21, United States Code, Section
841(a)(1).

Count 1: Imprisonment of not more than twenty years
(21 U.S.C. § 841(b)(1)(C)), or a fine not to exceed one
million dollars ($1,000,000) (21 U.S.C. § 841(b\1)(C)
and 18 U.S.C. § 3571(b)(1)), or both.

This is a Class C felony pursuant to 18 U.S.C. §
3559(a)(3).

Count 1: Not less than three years and not more than
life. 21 U.S.C. § 841(b)(1)(C).

Count 1: Not more than two years. 18 U.S.C. §
3583(e)(3).

Count 1: Life less any period of imprisonment imposed
upon revocation of supervised release. 18 U.S.C. §
3583(h).

N/A

DEA/Huntley

TBD; Arrest Warrant Requested
No

N/A

York

Nicholas Scott
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Guidelines apply? Y/N
Victim Case:
Corporate Victims Owed Restitution:

Assessments:

Yes
No
N/A

$100 per count

PagelD #: 10
